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                                                                                              FILED
                                                                                          IN OPEN COURT


                   IN THE UNITED STATES DISTRICT COURT FOR THE                          MAR ' B 202D
                             EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division                               CLERK,U.S. DISTRICT COURT
                                                                                       ALfXANDRIA. VIRGINIA

 UNITED STATES OF AMERICA


        V.                                            No. l:19-cr-260-TSE-3


 FREDY FABIAN ALFARO,
  a/k/a "TITO,"

        Defendant.



                                   STATEMENT OF FACTS


       The United States and the defendant, FREDY FABIAN ALFARO,also known as "TITO"

(hereinafter, "the defendant"), agree that at trial, the United States would have proven the

following facts beyond a reasonable doubt with admissible and credible evidence:

       1.      Beginning in and around January 2018, and continuing through in and around April

2018,in the Eastern District of Virginia and elsewhere,the defendant unlawfully, knowingly, and

intentionally combined, conspired, confederated, and agreed with Michael Cooker, to unlawfully,

knowingly, and intentionally distribute marijuana, a Schedule I controlled substance, in violation

ofTitle 21, United States Code,Sections 841(a)(1)and 846. On or about April 17,2018,defendant

JIMMIE MARCEL MCCRAY and defendant CHARLES ANTHONY FORBES knowingly and

intentionally joined this conspiracy.

       2.      On or about April 18, 2018, in Fairfax County, within the Eastern District of

Virginia, co-defendants McCray and Forbes carried, used, brandished, and discharged a firearm,

specifically a Smith & Wesson Military and Police Model,.38 Special revolver handgun, during

and relation to the conspiracy to distribute marijuana, a drug trafficking crime for which he could

be prosecuted in a court of the United States, under circumstances that it was reasonably
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foreseeable to the defendant that death would occur in furtherance of the marijuana distribution

conspiracy. FORBES did, in fact, shoot and kill Michael Cooker with that firearm, with malice

aforethought, which was murder as defined in Title 18, United States Code, Section 1111, in

violation of Title 18, United States Code, Sections 924(c)(1)(A) and (j), and 2.

       3.      Beginning in and around January 2018, through in and around April 2018, the

defendant. Cooker, and others were engaged in a conspiracy to distribute marijuana in the Eastem

District of Virginia and elsewhere.

       4.      Specifically, the defendant and Cooker obtained marijuana from sources ofsupply

in California. Thereafter, the defendant and Cooker shipped the marijuana from California to the

Eastem District of Virginia,for resale. Cooker and other conspirators distributed marijuana in and

around the Eastem District of Virginia.

       5.      At some point prior to April 15, 2018, the defendant and Cooker engaged in a

dispute over their marijuana distribution conspiracy. Among other concems, the defendant

believed that Cooker was not working to further the conspiracy and was not handling the

conspiracy's proceeds appropriately.

       6.      On April 15, 2018, Cooker retumed to Virginia from California. The defendant

remained in California.


       7.      On the night of April 17, 2018,from between approximately 10:46 p.m. and 11:45

p.m.. Cooker sent a series of electronic messages from his cellular telephone to the defendant's

cellular telephone regarding their dispute over the conspiracy.

       8.      A few hours later, from approximately 4:37 a.m. to 4:53 a.m. on the moming of

April 18, 2018, the defendant engaged in two phone conversations with JIMMIE MARCEL

MCCRAY, also known as "SLIM." In these conversations, the defendant offered MCCRAY
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remuneration to physically harm Cooker. The defendant's motive in soliciting this harm to Cooker

was his dispute with Cooker over their marijuana distribution conspiracy.

       9.      On the morning of April 18, 2018, defendant FORBES shot Cooker in Fairfax

County, within the Eastern District of Virginia, causing Cooker's death.

       10.     This statement offacts includes those facts necessary to support the plea agreement

between the defendant and the United States. It does not include each and every fact known to the

defendant or to the United States, and it is not intended to be a full enumeration of all of the facts

surrounding the defendant's case.

       11.     The actions of the defendant, as recounted above, were in all respects knowing and

deliberate, and were not committed by mistake, accident, or other innocent reason.

                                                Respectfully submitted,

                                                G.Zachary Terwilliger
                                                United States Attorney



 Date: March 13. 2020                     By:
                                                Michael R Ben'Ary
                                                Marc J. Bimbaum
                                                Rachael Tucker
                                                Counsel for the United States ofAmerica
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        After consulting with my attorney and pursuant to the plea agreement entered into this day

 between the defendant, Fredy Fabian Alfaro, and the United States, 1 hereby stipulate that the

 above Statement ofFacts is true and accurate, and that had the matter proceeded to trial, the United

 States would have proved the same beyond a reasonable doubt.



                                               Fredy Fab


        We are Joseph King and Dwight Crawley, the defendant's attorneys. We have carefully

 reviewed the above Statement of Facts with him. To our knowledge, his decision to stipulate to

 these facts is an informed and voluntary one.



                                               Joseplr King, Esq.
                                               Dwi^t Crawley, Esq.
                                                 Attorneys for Fabian Fredy Alfaro
